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ATTORNEYS FOR NEXPOINT
STRATEGIC OPPORTUNITIES FUND

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                   §
 In re:                                              Chapter 11
                                                   §
                                                   §
 ACIS CAPITAL MANAGEMENT, L.P.,                      Case No. 18-30264-sgj11
                                                   §
                                                   §
           Debtor.                                   (Jointly Administered)
                                                   §

 AGREED MOTION OF NEXPOINT STRATEGIC OPPORTUNITIES FUND TO SEAL
             ITS SEPTEMBER 8, 2021 HEARING EXHIBITS

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COMES NOW NexPoint Strategic Opportunities Fund (“NSOF”), a party-in-interest in the

above styled and numbered bankruptcy case (the “Bankruptcy Case) of Acis Capital Management,

L.P. (the “Debtor”), and files this its Agreed Motion to Seal Its September 8, 2021 Hearing Exhibits

(the “Motion”), respectfully stating as follows:

          1.    At the hearing held in this Bankruptcy Case on September 8, 2021 on the Motion

of NexPoint Strategic Opportunities Fund to Confirm Discharge Or Plan Injunction Does Not Bar

Lawsuit, Or, Alternatively, For Relief from All Applicable Injunctions, the Court admitted the

exhibits of NSOF otherwise listed at docket no. 1239 as Exhibits A through S (including all sub-

exhibits) (the “Exhibits”).




AGREED MOTION OF NEXPOINT STRATEGIC OPPORTUNITIES FUND TO SEAL ITS SEPTEMBER 8,
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       2.      The Exhibits include otherwise confidential and proprietary business information

of the Debtor and/or U.S. Bank National Association.

       3.      Accordingly, NSOF, with the agreement of the foregoing parties, hereby moves to

seal the Exhibits pursuant to 11 U.S.C. § 107 and Fed. R. Bankr. P. 9018.

       WHEREFORE, PREMISES CONSIDERED, NSOF respectfully requests that the Exhibits

be filed and submitted under seal pending further order of the Court.

       RESPECTFULLY SUBMITTED this 16th day of September, 2021.

                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By: /s/ Davor Rukavina
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                                             ATTORNEYS FOR NEXPOINT STRATEGIC
                                             OPPORTUNITIES FUND




                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that he discussed the relief requested herein and the
proposed order uploaded herewith with Jeff Prostok, Esq., counsel of record for the Debtor, and
with Mark Kotwick, Esq., counsel of record for US Bank, both of whom informed the undersigned
that their clients agree to said relief and to said order.

                                             By: /s/ Davor Rukavina
                                                  Davor Rukavina, Esq.




AGREED MOTION OF NEXPOINT STRATEGIC OPPORTUNITIES FUND TO SEAL ITS SEPTEMBER 8,
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 16th day of September, 2021, true and
correct copies of this document were electronically served by the Court’s ECF system on parties
entitled to notice thereof, including on counsel for the Debtor and US Bank.

                                            By: /s/ Davor Rukavina
                                                 Davor Rukavina, Esq.




AGREED MOTION OF NEXPOINT STRATEGIC OPPORTUNITIES FUND TO SEAL ITS SEPTEMBER 8,
2021 HEARING EXHIBITS—Page 3
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